Case 2:21-cv-13409-JMV-JBC Document 4 Filed 11/18/21 Page 1 of 2 PagelD: 64

11/12//2021 5 ati de} COURT
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Rupert Anyaegbunam RECEIV

45 Aspen. FI SA iW2| MOV 18 PON

Passaic, New Jersey 07055

District of New Jersey
Judge John Miachael Vasquez

Pro Se Department

Case Name: ANYAEGBUNAM v. ARS ACCOUNT RESOLUTION, LLC et

al Case Number: 2:21-cv-13409-JMV-JBC

Hello,

| am requesting a 30-day extension to submit an amended complaint in response to the motion

to dismiss the case.

Best,

‘Rupert Anyaegbunam

 
 

 
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